             Case 2:12-cr-00118-TLN Document 40 Filed 01/29/14 Page 1 of 3


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 7

 8

 9                       UNITED STATES DISTRICT COURT

10                       FOR THE EASTERN DISTRICT OF CALIFORNIA

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12
     UNITED STATES OF AMERICA,              )    Case No. 2:12-cr-00118 TLN
13                                          )
                               Plaintiff,   )    STIPULATION REGARDING EXCLUDABLE
14                                          )    TIME PERIODS UNDER SPEEDY
                                      v.    )    TRIAL ACT; FINDINGS AND ORDER
15                                          )
     KHADZHIMURAD BABATOV,                  )
16                                          )
                               Defendant.   )
17                                          )

18
                         Plaintiff United States of America, by and through its
19
     counsel of record, and defendant, by and through his counsel of record,
20
     hereby stipulate as follows:
21
                         1.    By previous order, this matter was set for status on
22
     January 30, 2014.
23
                         2.    By this stipulation, defendant now moves to continue
24
     the status conference until May 22, 2014 at 9:30 am in Courtroom 2 and to
25
     exclude time between January 30, 2014 and May 22, 2014 under Local Code T4.
26
     Plaintiff does not oppose this request.
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             Case 2:12-cr-00118-TLN Document 40 Filed 01/29/14 Page 2 of 3


 1                     3.       The parties agree and stipulate, and request that the

 2   Court find the following:

 3                     a.       The government has represented that the discovery

 4   associated with this case and the United States v. Chartaev case, which was

 5   found to be related to this case, includes over 4,000 pages.    All of this

 6   discovery has been either produced directly to counsel and/or made available

 7   for inspection and copying.

 8                     b.       Counsel for defendant desires additional time to

 9   consult with his client, to review the current charges, to conduct

10   investigation and research related to the charges, and to discuss potential

11   resolutions with his client.

12                     c.       Counsel for defendant believes that failure to grant

13   the above-requested continuance would deny him the reasonable time necessary

14   for effective preparation, taking into account the exercise of due diligence.

15                     d.       The government does not object to the continuance.

16                     e.       Based on the above-stated findings, the ends of

17   justice served by continuing the case as requested outweigh the interest of

18   the public and the defendant in a trial within the original date prescribed

19   by the Speedy Trial Act.

20                     f.       For the purpose of computing time under the Speedy

21   Trial Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the

22   time period of January 30, 2014 to May 22, 2014, inclusive, is deemed

23   excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) and Local Code T4

24   because it results from a continuance granted by the Court at defendant’s

25   request on the basis of the Court's finding that the ends of justice served

26   by taking such action outweigh the best interest of the public and the

27   defendant in a speedy trial.

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             Case 2:12-cr-00118-TLN Document 40 Filed 01/29/14 Page 3 of 3


 1                     4.      Nothing in this stipulation and order shall preclude

 2   a finding that other provisions of the Speedy Trial Act dictate that

 3   additional time periods are excludable from the period within which a trial

 4   must commence.

 5

 6   IT IS SO STIPULATED.

 7   Dated: January 28, 2014                    /s/ Lee Bickely
                                                 LEE BICKLEY
 8                                               Assistant U.S. Attorney

 9
     Dated: January 28, 2014                  /s/ John R. Duree, Jr.
10                                               JOHN R. DUREE, JR.
                                                 Attorney for KHADZIMURAD BABATOV
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12
                                         O R D E R
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14                     IT IS SO FOUND AND ORDERED this day of 28th January, 2014.

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                                                Troy L. Nunley
20                                              United States District Judge
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